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  7                       UNITED STATES DISTRICT COURT
  8                     CENTRAL DISTRICT OF CALIFORNIA
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10    RONNIE JOSEPH PAEZ,                        Case No. 5:22-cv-00110-PA-AFM
11                       Plaintiff,
                                                 ORDER ACCEPTING FINDINGS
12              v.                               AND RECOMMENDATIONS OF
13                                               UNITED STATES MAGISTRATE
      COLTON POLICE STATION, et al.,
                                                 JUDGE
14
                         Defendants.
15

16          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Report and
17    Recommendation of United States Magistrate Judge. The time for filing Objections
18    to the Report and Recommendation has passed, and Objections have not been
19    received. The Court accepts and adopts the Magistrate Judge’s Report and
20    Recommendation.
21          IT THEREFORE IS ORDERED that Judgment be entered dismissing this
22    action without prejudice for failure to prosecute and failure to comply with Court
23    orders.
24    DATED: June 24, 2022
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26                                         ____________________________________
                                                    PERCY ANDERSON
27                                           UNITED STATES DISTRICT JUDGE
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